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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
                               Plaintiff,      )
                                               )
                vs.                            )       CRIMINAL NO. 05-30015-DRH
                                               )
CARL PARKER,                                   )
                                               )
                               Defendant.      )

                ORDER OF FINDING OF NO THIRD-PARTY INTERESTS

        On September 26, 2007, this court entered an order for forfeiture against defendant Carl

Parker for the following property which had been seized from said defendant:

        1.      One 14k rose gold dog tag with copper colored necklace;
        2.      One 14k yellow gold Tiffany & Co. gents ring;
        3.      One gent 14k yellow gold bracelet;
        4.      One pair of 18k gold Tiffany & Co. cufflinks; and
        5.      One 18k gold two-tone fashion ring.

        Said order further provided that the government would provide an opportunity for persons

to claim a legal interest in the property pursuant to 21 U.S.C. § 853(n)(1).

        The court notes that notice was published by the government on an official government

internet site (www.forfeiture.gov) for at least 30 consecutive days beginning on July 13, 2008, and

that no third party filed a petition within 30 days after the last date of said publication to allege an

interest in the property.

        Consequently, the court hereby finds, pursuant to 21 U.S.C. § 853(n)(7) that no third-party

petitions were filed and that the United States of America has clear title to the above-described

property that is the subject of the Order of Forfeiture filed on September 26, 2007, namely:


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      1.     One 14k rose gold dog tag with copper colored necklace;
      2.     One 14k yellow gold Tiffany & Co. gents ring;
      3.     One gent 14k yellow gold bracelet;
      4.     One pair of 18k gold Tiffany & Co. cufflinks; and
      5.     One 18k gold two-tone fashion ring.

      The United States Marshal shall dispose of the property according to law.


DATE: October 17, 2008.

                                                  /s/      DavidRHer|do|
                                                  DAVID R. HERNDON
                                                  United States Chief Judge




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